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                                                             U. S.D.J.

                January 22, 2024

                By Hand Delivery

                Hon. Sidney H. Stein
                Daniel Patrick Moynihan
                United States Courthouse
                500 Pearl St.
                New York, NY 10007-1312

                Re:        US. v. Menendez, et al., Case No. 23-cr-490-SHS (S.D.N.Y.)
                           Request to Intervene & Unseal

                Dear Judge Stein:

                I write on behalf of Gannett Satellite Information Network, LLC, doing business as the
                Bergen Record ("Bergen Record"). The Bergen Record joins in the requests to unseal filed
                by The New York Times Company (Dkt. 145) and the Inner City Press (Dkt. 125),
                incorporated herein by reference, and respectfully requests that the Court enter an order
                unsealing and un-redacting the Motion to Dismiss the Second Superseding Indictment filed
                by Sen. Robert Menendez on January 10, 2024 (Dkts. 120-124).

               The Bergen Record makes this request pursuant to the First Amendment to the U.S.
               Constitution and the common law, as a representative of the press and on behalf of the
               public' s right of access to this information. See Globe Newspaper Co. v. Super. Ct., 457
               U.S. 596,609 n.25 (1982) (" . .. representatives of the press and general public "must be
               given an opportunity to be heard on the question of their exclusion." (citation omitted)).

                The First Amendment and common law provide an affirmative, enforceable right of public
                access to criminal proceedings. Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555,580
                (1980) ("We hold that the right to attend criminal trials is implicit in the guarantees of the
                First Amendment[.]" (footnote omitted)); NY Civil Liberties Union v. NYC Transit Auth. ,
                684 F.3d 286, 298 (2d Cir. 2012) (recognizing right of access not only to trials but to all
                "related proceedings and records").

               This Circuit previously has held that the First Amendment and common law rights of access
               attach to documents, like the ones at issue here, "which are submitted to, and accepted by, a
               court of competent jurisdiction in the course of adjudicatory proceedings." Lugosch v.
               Pyramid Co. of Onondaga, 435 F.3d 110, 122 (2d Cir. 2006) (quoting FTC v. Standard Fin.
               Mgmt. Corp. , 830 F.2d 404,409 (1st Cir. 1987)).



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Thus, these documents may only remain under seal if the Court makes specific, on-the-
record findings that the party seeking closure has carried its burden of justifying the denial of
public access. See Press-Enter. Co. v. Super. Ct., 478 U.S. 1, 13-14 (1986) (specific, on-the-
record findings required to close hearing); Bernstein v. Bernstein Litowitz Berger &
Grossmann LLP, 814 F.3d 132, 141 (2d Cir. 2016) (per curiam) ("[f]inding that a document
is a judicial document triggers a presumption of public access, and requires a court to make
specific, rigorous findings before sealing the document or otherwise denying public access"
(quoting Newsday LLC v. Cty. ofNassau, 730 F.3d 156, 167 n.15 (2d Cir. 2013))).

The parties will not be able to make such a showing here. Sen. Menendez submitted the
documents at issue in support of a dispositive motion in a criminal proceeding of great
public interest and importance. He has not offered, and will not be able to offer, any
compelling reason for closure that would outweigh the strong presumption access to these
records. The documents should be unsealed and umedacted without further delay.

If Your Honor prefers, the Bergen Record is prepared to file a formal motion to intervene
and unseal the records at issue or submit additional briefing. Thank you in advance for Your
Honor's consideration ofthis request.




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